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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA                          SFP 2 8 2818
                                      Newport News Division
                                                                                 CLEhK.U.S.DISTRKiT COURT
                                                                                       NORFOLK. VA




   HARRY L. GOODRICH and
   AGNES P. GOODRICH,

                        Plaintiffs,

   V.                                                        ACTI0NN0.4:17cv9

   JOHN CRANE, INC.,

                        Defendant.



                     OMNIBUS OPINION AND ORDER CONCERNING
                  PLAINTIFFS' AND DEFENDANT'S MOTIONS INLIMINE

          This matter comes before the Court on assorted motions in limine filed by plaintiffs,

   Harry and Agnes Goodrich, and defendant, John Crane, Inc. Plaintiffs' motions in limine seek:

   (1) to limit the testimony of Captain Margaret McCloskey; (2) to limit the testimony of John

   Henshaw; (3) to bar testimony about and reliance upon certain studies addressing asbestos fiber

   potency ratios; and (4) to limit defense expert testimony relying upon dose reconstruction. ECF

   Nos. 68-69, 71, 73. Defendant filed oppositions in response thereto, ECF Nos. 111-12, 114,

   117, and plaintiffs filed replies in support of their motions, ECF Nos. 130-31, 133, 135.

   Defendant's motion in limine seeks to prohibit evidence of regulatory and policy statements as

   evidence of medical causation. ECF No. 87. Plaintiffs filed a response in opposition thereto,

   ECF No, 125, and defendant filed a reply in support of its motion, ECF No. 137. On September
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